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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 MONTE A. ROSE, JR., et al.,                      )
                                                  )
                       Plaintiffs.                )
                                                  )
                       v.                         )
                                                  )              No. 1:19-cv-02848-JEB
 XAVIER BECERRA, in his official capacity as      )
 Secretary of Health and Human Services, et al.,  )
                                                  )
                       Defendants.                )
 ________________________________________________ )

PLAINTIFFS’ RESPONSE TO INTERVENOR-DEFENDANT’S MOTION FOR ENTRY
          OF JUDGMENT PURSUANT TO RULE 54(B) AND RULE 58

       On July 3, 2024, Intervenor-Defendant Indiana Family and Social Services Administration

filed a motion for entry of judgment “on all claims adjudicated in the Court’s opinion, Dkt. 68,

and order, Dkt. 67, dated June 27, 2024.” ECF No. 69 at 1. Plaintiffs take no position regarding

entry of judgment on Count I of their Supplemental Complaint. To the extent that Intervenor-

Defendant is seeking entry of judgment on any of the other counts in Plaintiffs’ Supplemental

Complaint, Plaintiffs oppose that request, as those claims have not been adjudicated. See Mem.

Op., ECF No. 68 at 21 (explaining that “the Court need adjudicate only” Count I of Plaintiffs’

Complaint to grant them full relief), 63 (granting Plaintiffs’ Motion for Summary Judgment on

Count I); Order, ECF No. 67 (entering judgment for Plaintiffs on Count I of the Supplemental

Complaint).


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Dated: July 8, 2024                                  Respectfully submitted,

                                                     /s/ Jane Perkins

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                                                     Counsel for Plaintiffs




                                CERTIFICATE OF SERVICE

       I hereby certify that on July 8, 2024, I electronically filed the foregoing with the Clerk of

Court by using the CM/ECF system, which will send an electronic notice to all authorized

CM/ECF filers in this case.

                                                     By:     /s/ Jane Perkins
                                                             Jane Perkins




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